                          Case 1:13-po-00468-JDK Document 1 Filed 04/04/13 Page 1 of 2 PageID #: 1
                                                                          CVB Location Code
    United States District Court
         Violation Notice                                                WL2

Violation Number                      Officer Name                             Officer No.

FAHU002E                              RHODES                                   2014




                                                                                                                     FAHU002E
    YOU ARE CHARGED WITH THE FOLLOWING
Date and Time of Offense                          Offense Charged

12/16/2012                    11:40               FED        36CFR         26155D

Place of Offense

FOWLER ROAD WINN DISTRICT

Offense Description: Factual Basis for Charge                                                            HAZMAT

EXPIRED INSPECTION STICKER 4/2012




DEFENDANT INFORMATION                                     Phone: (               )

Last Name                                                         First Name                                     M.I.
WILLIAMS                                                          GREGORY                                        T

Street Address



City                                         State        Zip Code                   Date of Birth (mm/dd/yyyy)


Drivers License No.                   CDL          D.L.           Social Security No.



                                          Race                    Hair    Eyes       Height              Weight
    Adult    Juvenile Sex     M       F
                                                                                          '       ''
VEHICLE                VIN:                                                                                  CMV

Tag No.                                   State       Year        Make/Model         PASS        Color



A             IF BOX A IS CHECKED, YOU B                      X      IF BOX B IS CHECKED, YOU MUST
              MUST APPEAR IN COURT.                                  PAY AMOUNT INDICATED BELOW
              SEE INSTRUCTIONS (opposite).                           OR APPEAR IN COURT.
                                                                     SEE INSTRUCTIONS (opposite).


                                                             $100.00                           Forfeiture
                                                             $25.00                            Processing Fee

                     PAY THIS AMOUNT                         $125.00                           Total Collateral

                                          YOUR COURT DATE
      (If no court appearance date is shown, you will be notified of your appearance date by mail.)
Court Address                                                                 Date (mm/dd/yyyy)



                                                                                         Time (hh:mm)



My signature signifies that I have received a copy of this violation notice. It is not an admission of guilt. I
promise to appear for the hearing at the time and place instructed or pay the total collateral due.

X Defendant

       Previous edition is obsolete                Original - CVB Copy                        FS-5300-4 (7/05)
                      Case 1:13-po-00468-JDK Document 1 Filed 04/04/13 Page 2 of 2 PageID #: 2

FAHU002E
                           STATEMENT OF PROBABLE CAUSE
                         (For issuance of an arrest warrant or summons)

I state that on        December 16, 2012           while exercising my duties as a law enforcement
officer in the                       western                     District of                LA



   Pursuant to 16USC 551: While on Patrol, I observed a vehicle parked off-road in a closed area. The
   vehicle was about 50 yards off-road. When I made contact with the owner he admitted to parking
   there. I issued the subject a Notice to Appear for driving off-road and having an expired inspection
   sticker that expired 4/2012. I also gave the subject a warning for not having a valid driver license.
   The subject was not observed operating the vehicle even know he admitted to driving. I decided to
   give the subject a warning and let a licensed driver drive the vehicle.




   The foregoing statement is based upon:
                                  MY PERSONAL OBSERVATION

   I declare under penalty of perjury that the information which I have set forth above and
   on the face of this violation notice is true and correct to the best of my knowledge.



   Executed                 December 16, 2012
                             Date (mm/dd/yyyy)                  Officer's Signature


    X Probable cause has been stated for the issuance of a warrant.




Executed on:
                            Date (mm/dd/yyyy)                   U.S. Magistrate Judge

HAZMAT = Hazerdous material involved in incident; PASS = 9 or more passenger vehicle;
CDL = Commercial drivers license;   CMV = Commercial vehicle involved in incident
